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                        UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
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      T-MOBILE US, INC., CLEARWIRE        Case No. CV 23-4347-DMG (Ex)
11    SPECTRUM HOLDINGS LLC,
      CLEARWIRE SPECTRUM                  ORDER APPROVING JOINT
12    HOLDINGS II LLC, CLEARWIRE          STIPULATION TO CONTINUE
      SPECTRUM HOLDINGS III LLC,          HEARING DATE ON MOTION FOR
13    FIXED WIRELESS HOLDINGS             PROTECTIVE ORDER STAYING
      LLC, NSAC LLC, TDI                  DISCOVERY PENDING MOTION TO
14    ACQUISITION SUB LLC, AND            DISMISS [47]
      WBSY LICENSING LLC,
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                   Plaintiffs,
16    vs.
17    WCO SPECTRUM LLC, SCH LLC,
      ACADEMIA SPECTRUM LLC,
18    GARY WINNICK, CARL
      KATERNDAHL, ASHOK
19    VASUDEVAN, ANDREAS
      BITZARAKIS, AND TYLER
20    KRATZ,
21                Defendants.
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 1         The Court, having reviewed the Joint Stipulation (the “Stipulation”) between
 2   Plaintiffs T-Mobile US, Inc., Clearwire Spectrum Holdings LLC, Clearwire Spectrum
 3   Holdings II LLC, Clearwire Spectrum Holdings III LLC, Fixed Wireless Holdings LLC,
 4   NSAC LLC, TDI Acquisition Sub LLC, and WBSY Licensing LLC (collectively,
 5   “Plaintiffs”), and Defendants WCO Spectrum LLC, Academia Spectrum LLC, Gary
 6   Winnick, Carl Katerndahl, Andreas Bitzarakis, and Tyler Kratz (collectively,
 7   “Defendants”) to Continue the Hearing Date on Defendants WCO Spectrum, LLC;
 8   Academia Spectrum, LLC; Gary Winnick; Carl Katerndahl; Andreas Bitzarakis; and
 9   Tyler Kratz’s Motion for Protective Order Staying Discovery Pending Motion to
10   Dismiss (ECF No. 41) (the “Motion”). Having considered the Stipulation, finding good
11   cause therefore, IT IS HEREBY ORDERED AS FOLLOWS:
12         1.    The hearing on Defendants WCO Spectrum, LLC; Academia Spectrum,
13               LLC; Gary Winnick; Carl Katerndahl; Andreas Bitzarakis; and Tyler
14               Kratz’s Motion shall be continued from October 27, 2023 at 9:30 a.m. to
15               November 17, 2023 at 9:30 a.m.;
16         2.    The deadline for Plaintiffs to file and serve their opposition to the Motion
17               shall be October 27, 2023; and
18         3.    The deadline for Defendants WCO Spectrum, LLC; Academia Spectrum,
19               LLC; Gary Winnick; Carl Katerndahl; Andreas Bitzarakis; and Tyler Kratz
20               to file and serve their Reply in support of the Motion shall be November
21               3, 2023.
22   IT IS SO ORDERED.
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24   DATED: September 12, 2023
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                                           DOLLY M. GEE
                                           UNITED STATES DISTRICT JUDGE
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